                                                        Case 16-10882           Doc 163          Filed 01/15/20         Page 1 of 12

                                                                                         Form 1                                                                                        Page: 1

                                                             Individual Estate Property Record and Report
                                                                              Asset Cases
Case Number:          16-10882 BAK                                                                       Trustee: (530190)           Charles M. Ivey, III
Case Name:            PATRIOT SERVICES OF GREENSBORO, INC                                                Filed (f) or Converted (c): 08/19/16 (f)
                                                                                                         §341(a) Meeting Date:       10/24/16
Period Ending:        12/31/19                                                                           Claims Bar Date:            10/11/19

                                   1                                    2                    3                    4              5                    6                  7                  8
                                                                                        Est Net Value
                       Asset Description                              Petition/      (Value Determined         Property     Sale/Funds           Asset Fully          Lien             Exempt
            (Scheduled And Unscheduled (u) Property)                Unscheduled       By Trustee, Less        Abandoned     Received by       Administered (FA)/     Amount            Amount
                                                                       Values        Liens, Exemptions,       OA=§554(a)     the Estate        Gross Value of
Ref. #                                                                                and Other Costs)        DA=§554(c)                      Remaining Assets

 1       Business Checking Account at Wells Fargo                             0.00                0.00                                 0.00                   FA             0.00                 0.00

 2       Wells Fargo Bank Account                                             0.00                0.00                                 0.00                   FA             0.00                 0.00

 3       Accounts Receivable over 90 days old                          891,495.00                 0.00                                 0.00                   FA       891,495.00                 0.00

 4       www.patriotstaffing.com                                              0.00                0.00                                 0.00                   FA             0.00                 0.00

          Not on line presently

 5       Computers (Appraised Value)                                     1,700.00           1,700.00                                   0.00                   FA             0.00                 0.00
          No computers were surrendered to Trustee.

 6       Printers                                                           425.00            425.00                                 289.80                   FA             0.00                 0.00
           Three copiers/printers/fax machines were in possession
         of SL Companies. Order dated 8/4/17 authorizes SL
         Companies to turnover property to Trustee; See Docket
         No. 30, Adv. 17-2004

 7       Fax Machine                                                         20.00               20.00                                 2.59                   FA             0.00                 0.00
           In possession of SL Companies. Order dated 8/4/17
         authorized SL Companies, Inc. to turnover possession to
         Trustee; See Docket No. 30; Property turned over by SL
         Companies was sold by auction

 8       Refund from Ins. Company (u)                                         0.00                0.00                               134.00                   FA             0.00                 0.00

 9       SL Companies - Adv. Proceeding 17-2004 (u)                           0.00                0.00                           4,000.00                     FA             0.00                 0.00
           Trustee reached court approved settlement in the
         adversary. See Docket No. 30; Adv. Proceeding 17-2004
         dated 8/4/17. SL Companies agreed topay $4,000.00.

10       2009 Chevrolet Impala LT                                             0.00                0.00                           3,106.15                     FA             0.00                 0.00


                                                                                                                                                             Printed: 01/14/2020 11:50 AM       V.14.60
                                                         Case 16-10882       Doc 163          Filed 01/15/20         Page 2 of 12

                                                                                      Form 1                                                                                        Page: 2

                                                             Individual Estate Property Record and Report
                                                                              Asset Cases
Case Number:          16-10882 BAK                                                                    Trustee: (530190)           Charles M. Ivey, III
Case Name:            PATRIOT SERVICES OF GREENSBORO, INC                                             Filed (f) or Converted (c): 08/19/16 (f)
                                                                                                      §341(a) Meeting Date:       10/24/16
Period Ending:        12/31/19                                                                        Claims Bar Date:            10/11/19

                                   1                                  2                   3                    4              5                    6                  7                  8
                                                                                     Est Net Value
                        Asset Description                           Petition/     (Value Determined         Property     Sale/Funds           Asset Fully          Lien             Exempt
             (Scheduled And Unscheduled (u) Property)             Unscheduled      By Trustee, Less        Abandoned     Received by       Administered (FA)/     Amount            Amount
                                                                     Values       Liens, Exemptions,       OA=§554(a)     the Estate        Gross Value of
Ref. #                                                                             and Other Costs)        DA=§554(c)                      Remaining Assets

11       2005 Ford Van                                                     0.00                0.00                               747.50                   FA             0.00                 0.00

12       Void Asset                                                        0.00                0.00                                 0.00                   FA             0.00                 0.00

13       Dynex 60" 1080 p TV with Remote                                   0.00                0.00                               138.00                   FA             0.00                 0.00

14       Framed Print and Art Work                                         0.00                0.00                                 2.08                   FA             0.00                 0.00

15       Rents-3211 Hayden St., Greensboro NC                              0.00                0.00                           6,500.00                     FA             0.00                 0.00
          Rental payments for 3211 Hayden Street, Greensboro,
         NC

16       Rents - 4610 Lawndale Drive                                  Unknown                  N/A                                700.00                   FA             0.00                 0.00

17       Rents - 3804 Nash St., Greensboro, NC                        Unknown                  N/A                            5,600.00                     FA             0.00                 0.00

18       Rents - 309-D East Montcastle Dr., Greensboro                Unknown                  0.00                                 0.00                   FA             0.00                 0.00

19       Rents - 923 Sevier St., Greensboro, NC                       Unknown                  0.00                           2,600.00                     FA             0.00                 0.00

20       3211 Hayden Street, Greensboro NC (u)                             0.00                0.00                          47,300.00                     FA             0.00                 0.00

21       4610 Lawndale Drive, Greensboro, NC (u)                           0.00                0.00                          30,000.00                     FA             0.00                 0.00

22       3804 Nash Street, Greensboro, NC (u)                              0.00                0.00                          44,000.00                     FA             0.00                 0.00

23       309-D East Montcastle Drive, Greensboro, NC (u)                   0.00                0.00                          42,984.12                     FA             0.00                 0.00
           Includes HOA Dues refunded due to overpayment at
         closing

24       923 Sevier Street, Greensboro, NC (u)                             0.00                0.00                          26,400.00                     FA             0.00                 0.00

 24      Assets          Totals (Excluding unknown values)          $893,640.00         $2,145.00                          $214,504.24                  $0.00      $891,495.00               $0.00




                                                                                                                                                          Printed: 01/14/2020 11:50 AM       V.14.60
                                                   Case 16-10882           Doc 163          Filed 01/15/20      Page 3 of 12

                                                                                    Form 1                                                                                    Page: 3

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:       16-10882 BAK                                                                 Trustee: (530190)           Charles M. Ivey, III
Case Name:         PATRIOT SERVICES OF GREENSBORO, INC                                          Filed (f) or Converted (c): 08/19/16 (f)
                                                                                                §341(a) Meeting Date:       10/24/16
Period Ending:     12/31/19                                                                     Claims Bar Date:            10/11/19

                              1                                      2                  3                  4               5                 6                  7                  8
                                                                                  Est Net Value
                      Asset Description                          Petition/     (Value Determined       Property      Sale/Funds         Asset Fully           Lien            Exempt
           (Scheduled And Unscheduled (u) Property)            Unscheduled      By Trustee, Less      Abandoned      Received by     Administered (FA)/      Amount           Amount
                                                                  Values       Liens, Exemptions,     OA=§554(a)      the Estate      Gross Value of
Ref. #                                                                          and Other Costs)      DA=§554(c)                     Remaining Assets



    Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
            THIRTEENTH INTERIM REPORT 1/15/2020: Trustee has filed objections to claims and will proceed toward closing the estate after the objection process is
            completed.

            TWELFTH INTERIM REPORT 10/15/19: Trustee has noticed creditor to file claims, and the deadline for filing claims is October 11, 2019. Trustee has filed a final tax
            return for the Debtor and the IRS has responded with a request for more information. Trustee will review claims after the deadline has expired.

            ELEVENTHEN INTERIM REPORT 07/15/19: Trustee has closed on all sales of the five tracts of real estate auctioned by the Trustee. Trustee will be notifying the
            Clerk's Office to notice creditors to file claims. Trustee is working on filing the neessary final tax returns for the debtor corporation.

            TENTH INTERIM REPORT 04/15/2019: Trustee conducted the court approved auction of five tracts of real estate and will proceed with the closings during the next
            interim reporting period. Trustee will be requesting the Clerk to notice creditors to file claims. All five sales were confirmed by the Court.

            NINTH INTERIM REPORT 01/15/2019: Trustee is coordinating with Iron Horse Auction Company to schedule an auction in March, 2019 for the five tracts of real
            estate. Trustee is attempting to contact parties who are occupying the houses as tenants to determine if they will agree to a one-year lease. If a lease is entered into,
            it will be part of the auction sale. Trustee anticipates filing the necessary pleadings in January to conduct the auction.

            EIGHTH INTERIM REPORT 10/15/2018: Pursuant to the Court approved settlement, the five tracts of real estate have now been conveyed to the Debtor Corporation.
            The Trustee is collecting rents from tenants. Trustee is initiating contact with the Housing Authority to redirect certain Section 8 payments to the Trustee. Trustee is
            reaching out to tenants to find out whether they desire to stay as tenants or will be leaving the property. Once the Trustee has determined the status of the property,
            Trustee will be in a better position to determine the best avenue for selling the same.

            SEVENTH INTERIM REPORT 07/15/2018: The Trustee has reached a court approved settlement which has resulted in five tracts of real estate being reconveyed into
            the name of the Debtor Corporation. Trustee is moving forward to contact all current tenants concerning rent payments and after the Trustee has obtained the
            necessary information concerning the rental status of each property, he anticipates hiring a realtor to market the properties. No auction is planned at this time.


                                                                                                                                                    Printed: 01/14/2020 11:50 AM       V.14.60
                                                  Case 16-10882           Doc 163         Filed 01/15/20          Page 4 of 12

                                                                                   Form 1                                                                                   Page: 4

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       16-10882 BAK                                                               Trustee: (530190)           Charles M. Ivey, III
Case Name:         PATRIOT SERVICES OF GREENSBORO, INC                                        Filed (f) or Converted (c): 08/19/16 (f)
                                                                                              §341(a) Meeting Date:       10/24/16
Period Ending:     12/31/19                                                                   Claims Bar Date:            10/11/19

                              1                                    2                  3                  4               5                 6                  7                  8
                                                                                 Est Net Value
                      Asset Description                         Petition/     (Value Determined       Property       Sale/Funds       Asset Fully          Lien             Exempt
           (Scheduled And Unscheduled (u) Property)           Unscheduled      By Trustee, Less      Abandoned       Received by   Administered (FA)/     Amount            Amount
                                                                 Values       Liens, Exemptions,     OA=§554(a)       the Estate    Gross Value of
Ref. #                                                                         and Other Costs)      DA=§554(c)                    Remaining Assets


            SIXTH INTERIM REPORT 04/15/2018: The internet auction has been concluded and the Court has confirmed the sale. Trustee is investigating a potential fraudulent
            conveyance of 5 tracts of real estate by the Debtor. Trustee anticipates either negotiating a settlement or filing an adversary proceeding concerning the transfers.

            FIFTH INTERIM REPORT 01/15/2018: The Trustee has collected settlement funds of $4,000 from SL Companies. The Trustee is seeking court authorization of an
            internet auction to be held in February on personal property recovered through the settlement. The Trustee is continuing to investigate other potential avoidance
            actions.

            FOURTH INTERIM REPORT 10/15/2017: The compromise with SL Companies was approved and the Trustee will be collecting $4,000.00 over a period of time and
            will be moving to sell a vehicle and other personal property that was turned over to the Trustee.

            THIRD INTERIM REPORT 7/15/2017: One of the adversary proceedings regarding a preference action has been dismissed by the Court based upon the Court's
            interpretation of the effect of state law of New York as to the date of transfer. The Trustee has reached a tentative settlement with SL Companies, Inc., concerning a
            fraudulent conveyance and anticipates filing a Rule 9019 request for approval of the settlement. If approved, the Trustee anticipates dismissing the other named
            defendants without prejudice. Based upon additional information received from SL Companies, Inc., the Trustee is continuing to investigate information concerning the
            Debtor's apparent disposition of its tangible personal property prior to the bankruptcy proceeding.

            SECOND INTERIM REPORT: 4/15/2017: Trustee has filed certain adversary proceedings regarding fraudulent conveyances of personal property. Trustee will
            proceed with litigation.

            FIRST INTERIM REPORT: 01/15/2017: Trustee is investigating the financial affairs of this Debtor and is specifically looking into a potential fraudulent conveyance of
            personal property. There are no bank accounts at this time.

    Initial Projected Date Of Final Report (TFR): December 31, 2018                        Current Projected Date Of Final Report (TFR): March 31, 2020


                January 14, 2020
         __________________________                                                        /s/ Charles M. Ivey, III
                                                                                           _________________________________________________________________
                      Date                                                                 Charles M. Ivey, III

                                                                                                                                                  Printed: 01/14/2020 11:50 AM       V.14.60
                                                 Case 16-10882      Doc 163         Filed 01/15/20     Page 5 of 12

                                                                            Form 1                                                                                   Page: 5

                                                     Individual Estate Property Record and Report
                                                                      Asset Cases
Case Number:      16-10882 BAK                                                          Trustee: (530190)           Charles M. Ivey, III
Case Name:        PATRIOT SERVICES OF GREENSBORO, INC                                   Filed (f) or Converted (c): 08/19/16 (f)
                                                                                        §341(a) Meeting Date:       10/24/16
Period Ending:    12/31/19                                                              Claims Bar Date:            10/11/19

                             1                                2                 3                4              5                6                     7                  8
                                                                           Est Net Value
                     Asset Description                      Petition/   (Value Determined     Property     Sale/Funds       Asset Fully             Lien             Exempt
          (Scheduled And Unscheduled (u) Property)        Unscheduled    By Trustee, Less    Abandoned     Received by   Administered (FA)/        Amount            Amount
                                                             Values     Liens, Exemptions,   OA=§554(a)     the Estate    Gross Value of
Ref. #                                                                   and Other Costs)    DA=§554(c)                  Remaining Assets


    Copy Served On: Mr. William P. Miller
                    Bankruptcy Administrator




                                                                                                                                           Printed: 01/14/2020 11:50 AM       V.14.60
                                                   Case 16-10882         Doc 163       Filed 01/15/20       Page 6 of 12

                                                                                 Form 2                                                                                   Page: 1
                                                           Cash Receipts And Disbursements Record
Case Number:         16-10882 BAK                                                                  Trustee:          Charles M. Ivey, III (530190)
Case Name:           PATRIOT SERVICES OF GREENSBORO, INC                                           Bank Name:        Mechanics Bank
                                                                                                   Account:          ******4866 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                                    Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending:       12/31/19                                                                      Separate Bond:    N/A

   1           2                           3                                             4                                 5                    6                     7
 Trans.     {Ref #} /                                                                                                   Receipts         Disbursements          Checking
  Date      Check #            Paid To / Received From                     Description of Transaction                      $                   $             Account Balance
03/27/17       {8}        Selective Insurance Company of     Refund from insurance payment after filing by company             134.00                                      134.00
                          America
03/31/17                  Rabobank, N.A.                     Bank and Technology Services Fee                                                        10.00                 124.00
04/28/17                  Rabobank, N.A.                     Bank and Technology Services Fee                                                        10.00                 114.00
05/03/17                  To Account #********67             Transfer from original account                                                         114.00                   0.00
                                                                              ACCOUNT TOTALS                                    134.00              134.00                  $0.00
                                                                                  Less: Bank Transfers                            0.00              114.00
                                                                              Subtotal                                          134.00               20.00
                                                                                  Less: Payments to Debtors                                           0.00
                                                                              NET Receipts / Disbursements                     $134.00              $20.00




  {} Asset reference(s)                                                                                                                    Printed: 01/14/2020 11:50 AM    V.14.60
                                                         Case 16-10882      Doc 163        Filed 01/15/20      Page 7 of 12

                                                                                     Form 2                                                                                   Page: 2
                                                             Cash Receipts And Disbursements Record
Case Number:         16-10882 BAK                                                                     Trustee:         Charles M. Ivey, III (530190)
Case Name:           PATRIOT SERVICES OF GREENSBORO, INC                                              Bank Name:       Mechanics Bank
                                                                                                      Account:         ******4867 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                                       Blanket Bond:    $2,500,000.00 (per case limit)
Period Ending:       12/31/19                                                                         Separate Bond:   N/A

   1           2                           3                                                4                                 5                     6                     7
 Trans.     {Ref #} /                                                                                                     Receipts           Disbursements           Checking
  Date      Check #             Paid To / Received From                        Description of Transaction                    $                     $              Account Balance
05/03/17                  From Account #********66              Transfer from original account                                     114.00                                      114.00
05/31/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00                104.00
06/30/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00                 94.00
07/31/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00                 84.00
08/31/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00                 74.00
09/18/17       {9}        SL Companies, Inc dba SL Staffing     Settlement Proceeds from AP                                       1,000.00                                    1,074.00
                          Services
09/29/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00               1,064.00
10/18/17       {9}        SL Companies Inc d/b/a SL Staffing    Settlement Payment                                                1,000.00                                    2,064.00
                          Services
10/31/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00               2,054.00
11/21/17       {9}        SL Companies, Inc                     Settlement Funds                                                  1,000.00                                    3,054.00
11/30/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00               3,044.00
12/27/17       {9}        SL Companies, Inc. dba SL Staffing    Settlement Funds                                                  1,000.00                                    4,044.00
                          Services
12/29/17                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00               4,034.00
01/31/18                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00               4,024.00
02/28/18                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00               4,014.00
03/07/18      101         N.C. Department of Motor Vehicles     Title Application for 2006 Ford                                                          170.30               3,843.70
                                                                Voided on 05/16/18
03/12/18      102         International Sureties, Ltd.          BOND PREMIUM PAYMENT ON LEDGER BALANCE                                                     1.74               3,841.96
                                                                AS OF 03/12/2018 FOR CASE #16-10882, Bond
                                                                #016036434
03/30/18                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          10.00               3,831.96
04/18/18                  Iron Horse Auction Co., Inc.          Auction proceeds                                                  4,286.12                                    8,118.08
              {10}                                                 Gross sale proceeds                      3,106.15                                                          8,118.08
              {11}                                                 Gross sale proceeds                       747.50                                                           8,118.08

                                                                                                        Subtotals :           $8,400.12                 $282.04
  {} Asset reference(s)                                                                                                                        Printed: 01/14/2020 11:50 AM     V.14.60
                                                      Case 16-10882      Doc 163          Filed 01/15/20      Page 8 of 12

                                                                                 Form 2                                                                                    Page: 3
                                                          Cash Receipts And Disbursements Record
Case Number:         16-10882 BAK                                                                    Trustee:         Charles M. Ivey, III (530190)
Case Name:           PATRIOT SERVICES OF GREENSBORO, INC                                             Bank Name:       Mechanics Bank
                                                                                                     Account:         ******4867 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                                      Blanket Bond:    $2,500,000.00 (per case limit)
Period Ending:       12/31/19                                                                        Separate Bond:   N/A

   1           2                           3                                               4                                 5                   6                     7
 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements           Checking
  Date      Check #             Paid To / Received From                     Description of Transaction                      $                   $              Account Balance
              {13}                                              Gross Sale Proceeds                          138.00                                                        8,118.08
              {14}                                              Gross Sale Proceeds                            2.08                                                        8,118.08
               {6}                                              Gross Sale Proceeds                          289.80                                                        8,118.08
               {7}                                              Gross Sale Proceeds                            2.59                                                        8,118.08
04/25/18      103         Clerk, U.S. Bankruptcy Court        Adv. Proceeding Filing Fees 17-2004; 17-2007                                           700.00                7,418.08
04/30/18      104         Iron Horse Auction Company          Advertising Expenses $250.00; Towing Fee $350.00                                       600.00                6,818.08
04/30/18      105         Iron Horse Auction Company          Auctioneer Fee - 15% Buyer's Premium                                                   559.06                6,259.02
04/30/18                  Rabobank, N.A.                      Bank and Technology Services Fee                                                        10.00                6,249.02
05/16/18      101         N.C. Department of Motor Vehicles   Title Application for 2006 Ford                                                        -170.30               6,419.32
                                                              Voided: check issued on 03/07/18
05/23/18      106         Register of Deeds                   Recording Fees for deeds                                                               130.00                6,289.32
05/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                                                        10.61                6,278.71
06/29/18                  Rabobank, N.A.                      Bank and Technology Services Fee                                                        10.00                6,268.71
07/11/18      {15}        Garry and Felicia Troxler           Rental payment                                                     650.00                                    6,918.71
07/25/18      {16}        Arquita Bost                        Rent for Asset #16- 4610- D Lawndale Drive                         700.00                                    7,618.71
07/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                                                        10.37                7,608.34
08/06/18      {17}        Henry Lewis Johnson                 Rent- 3804 Nash Street, Greensboro NC                              700.00                                    8,308.34
08/14/18      {15}        Garry Troxler                       Rent for August at 3211 S Hayden Street                            650.00                                    8,958.34
08/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                                                        12.61                8,945.73
09/12/18      {17}        Henry Johnson                       Rent payment for 3804 Nash St                                      350.00                                    9,295.73
09/12/18      {17}        Henry Johnson                       Rents for 3804 Nash St                                             350.00                                    9,645.73
09/12/18      {15}        Garry Troxler, Sr.                  Rent for 3211 S Hayden St                                          650.00                                10,295.73
09/28/18                  Rabobank, N.A.                      Bank and Technology Services Fee                                                         7.41            10,288.32
10/09/18      {17}        Henry Johnson                       Rents for 3804 Nash Street                                         350.00                                10,638.32
10/09/18      {17}        Henry Johnson                       Rent for 3804 Nash Street                                          350.00                                10,988.32
10/15/18      {15}        Mr Garry Troxler Sr                 Rent for 3211 S Hayden St                                          650.00                                11,638.32


                                                                                                        Subtotals :          $5,400.00           $1,879.76
  {} Asset reference(s)                                                                                                                     Printed: 01/14/2020 11:50 AM     V.14.60
                                                         Case 16-10882      Doc 163         Filed 01/15/20      Page 9 of 12

                                                                                     Form 2                                                                                  Page: 4
                                                             Cash Receipts And Disbursements Record
Case Number:         16-10882 BAK                                                                       Trustee:         Charles M. Ivey, III (530190)
Case Name:           PATRIOT SERVICES OF GREENSBORO, INC                                                Bank Name:       Mechanics Bank
                                                                                                        Account:         ******4867 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                                         Blanket Bond:    $2,500,000.00 (per case limit)
Period Ending:       12/31/19                                                                           Separate Bond:   N/A

   1           2                           3                                                   4                               5                   6                     7
 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements           Checking
  Date      Check #             Paid To / Received From                        Description of Transaction                      $                  $              Account Balance
10/31/18                  Rabobank, N.A.                        Bank and Technology Services Fee                                                          9.96           11,628.36
11/26/18      {15}        Garry K Troxler Sr.                   Rent for November on 3211 South Hayden Street,                     650.00                                12,278.36
                                                                Greensboro
11/26/18      {17}        Henry Johnson                         Rent for 3804 Nash Street, Greensboro                              350.00                                12,628.36
11/26/18      {17}        Annie Lloyd                           Rent for 3804 Nash Street, Greensboro                              350.00                                12,978.36
12/31/18      {15}        Garry Troxler, Sr.                    Rents for 3211 S. Hayden St, Greensboro                            650.00                                13,628.36
01/02/19      {17}        Henry Johnson III                     Rent for 3804 Nash Street Greensboro                               350.00                                13,978.36
01/02/19      {17}        Annie Llloyd                          Rent for 3804 Nash St Greensboro                                   350.00                                14,328.36
01/29/19      {15}        Garry K. Troxler Sr                   Rent for 3211 S Hayden St.                                         650.00                                14,978.36
02/11/19      {17}        Annie Lloyd                           Rent for 3804 Nash Street                                          350.00                                15,328.36
02/11/19      {17}        Henry Johnson                         Rent for 3804 Nash Street                                          350.00                                15,678.36
02/27/19      {15}        Garry K. Troxler Sr                   Rent for 3211 Hayden Street- Greensboro                            650.00                                16,328.36
03/04/19      {19}        Yvette Glenn                          Rent for February of 923 Sevier St,. GSO                           650.00                                16,978.36
03/04/19      {19}        Yvette Glenn                          Rent for March on 923 Sevier St, GSO                               650.00                                17,628.36
03/11/19      {17}        Annie Lloyd                           Rent for 3804 Nash Street, Greensboro NC                           350.00                                17,978.36
03/11/19      {17}        Henry Johnson                         Rent for 3804 Nash St. Greensboro                                  350.00                                18,328.36
03/25/19      107         International Sureties, Ltd.          BOND PREMIUM PAYMENT ON LEDGER BALANCE                                                   10.94           18,317.42
                                                                AS OF 03/25/2019 FOR CASE #16-10882, Bond
                                                                premium
03/27/19      {15}        Garry Troxler                         Rent for March 2019- 3211 S Hayden St.                             650.00                                18,967.42
04/09/19      108         Register of Deeds                     Recording fee for (3) leases                                                             78.00           18,889.42
04/10/19      {17}        Annie Lloyd                           April 2019 Rent for 3804 Nash Street                               350.00                                19,239.42
04/10/19      {17}        Henry Johnson III                     April 2019 Rent for 3804 Nash Street                               350.00                                19,589.42
04/16/19      {19}        Yvette Glenn                          April Rent for 923 Sevier Street- Greensboro                       650.00                                20,239.42
04/16/19      109         Clerk, U.S. Bankruptcy Court          Filing fee - Motion to Transfer Liens                                                   181.00           20,058.42
04/30/19      {15}        Garry Troxler                         April Rent for 3211 S Hayden Street                                650.00                                20,708.42
05/08/19                  Steven Foskett, PA                    Sale proceeds from 4610-D Lawndale Drive/Greensboro            23,013.87                                 43,722.29
                                                                                                           Subtotals :         $32,363.87              $279.90
  {} Asset reference(s)                                                                                                                       Printed: 01/14/2020 11:50 AM    V.14.60
                                                     Case 16-10882       Doc 163        Filed 01/15/20       Page 10 of 12

                                                                                  Form 2                                                                                   Page: 5
                                                          Cash Receipts And Disbursements Record
Case Number:         16-10882 BAK                                                                   Trustee:          Charles M. Ivey, III (530190)
Case Name:           PATRIOT SERVICES OF GREENSBORO, INC                                            Bank Name:        Mechanics Bank
                                                                                                    Account:          ******4867 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                                     Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending:       12/31/19                                                                       Separate Bond:    N/A

   1           2                           3                                             4                                   5                   6                     7
 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements          Checking
  Date      Check #             Paid To / Received From                      Description of Transaction                     $                   $             Account Balance
                             Guilford County Tax Department     2019 ad valorem taxes                       -290.46                                                    43,722.29
                             Register of Deeds                  Revenue Stamps                               -60.00                                                    43,722.29
                             Guilford County Tax Department     2015 Ad Valorem Taxes                       -915.05                                                    43,722.29
                             Guilford County Tax Department     2016 Ad Valorem Taxes                       -942.45                                                    43,722.29
                             Guilford County Tax Department     2017 Ad Valorem Taxes                       -974.64                                                    43,722.29
                             Guilford County Tax Department     2018 Ad Valorem Taxes                       -897.33                                                    43,722.29
                             William P. Benjamin, PLLC          Past due HOA dues                         -2,906.20                                                    43,722.29
              {21}                                              Sales Proceeds                            30,000.00                                                    43,722.29
05/08/19      {19}        Yvette Glenn                        May Rent for 923 Sevier Street                                     650.00                                44,372.29
05/13/19                  Justice Law Group, PA               Settlement Proceeds from 3211 South Hayden Street,             38,511.80                                 82,884.09
                                                              Greensboro
                             Guilford County Tax Department     Ad valorem taxes 2019                       -257.28                                                    82,884.09
                             Guilford County Tax Department     2018 ad valorem taxes                       -767.10                                                    82,884.09
                             Guilford County Tax Department     2017 ad valorem taxes                       -833.25                                                    82,884.09
                             Guilford County Tax Department     2016 ad valorem taxes                       -968.06                                                    82,884.09
                             Guilford County Tax Department     2015 ad valorem taxes                       -942.61                                                    82,884.09
                             Register of Deeds                  Revenue Stamps                               -95.00                                                    82,884.09
                             City of Greensboro                 Water Bill                                  -624.90                                                    82,884.09
                             Iron Horse Auction Company         Buyer's Premium                           -4,300.00                                                    82,884.09
              {20}                                              Sale Proceeds                             47,300.00                                                    82,884.09
05/13/19                  J. Fufus Farrior, Atty at Law       Settlement Proceeds from 3804 Nash Street,                     37,323.04                                120,207.13
                                                              Greensboro
                             Guilford County Tax Department     2019 ad valorem taxes 1/1/19 thru           -204.10                                                   120,207.13
                                                                5/9/19
                             Iron Horse Auction Company         Buyer's Premium                           -4,000.00                                                   120,207.13
                             Register of Deeds                  Revenue Stamps                               -88.00                                                   120,207.13
                             Guilford County Tax Department     2015 ad valorem taxes                       -869.10                                                   120,207.13
                                                                                                      Subtotals :            $76,484.84               $0.00
  {} Asset reference(s)                                                                                                                     Printed: 01/14/2020 11:50 AM    V.14.60
                                                   Case 16-10882        Doc 163         Filed 01/15/20       Page 11 of 12

                                                                                  Form 2                                                                                   Page: 6
                                                            Cash Receipts And Disbursements Record
Case Number:         16-10882 BAK                                                                   Trustee:          Charles M. Ivey, III (530190)
Case Name:           PATRIOT SERVICES OF GREENSBORO, INC                                            Bank Name:        Mechanics Bank
                                                                                                    Account:          ******4867 - Checking Account
Taxpayer ID #:       XX-XXXXXXX                                                                     Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending:       12/31/19                                                                       Separate Bond:    N/A

   1           2                           3                                             4                                   5                   6                     7
 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements            Checking
  Date      Check #             Paid To / Received From                      Description of Transaction                     $                   $               Account Balance
                             Guilford County Tax Department     2016 ad valorem taxes                       -899.80                                                   120,207.13
                             Guilford County Tax Department     2017 ad valorem taxes                         -4.86                                                   120,207.13
                             Guilford County Tax Department     2018 ad valorem taxes                       -611.10                                                   120,207.13
              {22}                                              Sale Proceeds                             44,000.00                                                   120,207.13
05/15/19      110         R. Steve Bowden                                                                                                             650.00          119,557.13
05/20/19                  J. Rufus Farrior, P.A.              Sale Proceeds - 309-D East Montcastle Drive                    31,609.32                                151,166.45
                             Guilford County Tax Department     2019 ad valorem taxes                       -282.81                                                   151,166.45
                             Black, Slaughter & Black, PA       Past Due HOA dues                         -6,064.91                                                   151,166.45
                             Black, Slaughter & Black, PA       HOA Dues May, 2019                           -84.12                                                   151,166.45
                             Register of Deeds                  Revenue Stamps                               -86.00                                                   151,166.45
                             Iron Horse Auction Company         Buyer's Premium                           -3,900.00                                                   151,166.45
                             Guilford County Tax Department     2018 Taxes                                  -802.87                                                   151,166.45
                             City of Greensboro                 Water Bill                                   -69.97                                                   151,166.45
              {23}                                              Sales Proceeds                            42,900.00                                                   151,166.45
05/20/19                  J. Rufus Farrior, P.A.              Sale Proceeds - 923 Sevier Street, Greensboro, NC              21,261.28                                172,427.73
              {24}                                              Gross Sale Proceeds                       26,400.00                                                   172,427.73
                             Guilford County Tax Department     County Taxes 1/1/2019 to                    -177.45                                                   172,427.73
                                                                5/16/2019
                             Iron Horse Auction Company         Buyer's Premium                           -2,400.00                                                   172,427.73
                             Register of Deeds                  Revenue Stamps                               -54.00                                                   172,427.73
                             Guilford County Tax Department     2015, 2016, 2017 and 2018 ad              -2,507.27                                                   172,427.73
                                                                valorem taxes
05/20/19      {23}        J. Rufus Farrior, P.A.              Refund of HOA Dues - 309-D Montcastle Drive                        84.12                                172,511.85
05/29/19      111         Auction Promotions Unlimited        Advertising Expenses                                                                   2,500.00         170,011.85




                                                                                                      Subtotals :            $52,954.72          $3,150.00
  {} Asset reference(s)                                                                                                                     Printed: 01/14/2020 11:50 AM    V.14.60
                                                 Case 16-10882   Doc 163     Filed 01/15/20           Page 12 of 12

                                                                        Form 2                                                                                      Page: 7
                                                       Cash Receipts And Disbursements Record
Case Number:        16-10882 BAK                                                            Trustee:          Charles M. Ivey, III (530190)
Case Name:          PATRIOT SERVICES OF GREENSBORO, INC                                     Bank Name:        Mechanics Bank
                                                                                            Account:          ******4867 - Checking Account
Taxpayer ID #:      XX-XXXXXXX                                                              Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending:      12/31/19                                                                Separate Bond:    N/A

  1            2                         3                                    4                                       5                   6                     7
Trans.      {Ref #} /                                                                                            Receipts          Disbursements            Checking
 Date       Check #         Paid To / Received From                Description of Transaction                       $                    $               Account Balance
                                                                    ACCOUNT TOTALS                                    175,603.55              5,591.70        $170,011.85
                                                                        Less: Bank Transfers                              114.00                  0.00
                                                                    Subtotal                                          175,489.55              5,591.70
                                                                        Less: Payments to Debtors                                                 0.00
                                                                    NET Receipts / Disbursements                   $175,489.55            $5,591.70

                             Net Receipts :         175,623.55
                   Plus Gross Adjustments :          38,880.69                                                          Net             Net                    Account
         Less Other Noncompensable Items :             -650.00      TOTAL - ALL ACCOUNTS                              Receipts     Disbursements               Balances
                                                 ————————
                                  Net Estate :     $215,154.24      Checking # ******4866                                 134.00                 20.00               0.00
                                                                    Checking # ******4867                             175,489.55              5,591.70         170,011.85

                                                                                                                   $175,623.55            $5,611.70           $170,011.85




                    January 14, 2020                                           /s/ Charles M. Ivey, III
             __________________________                                        _________________________________________________________________
                           Date                                                Charles M. Ivey, III




 {} Asset reference(s)                                                                                                               Printed: 01/14/2020 11:50 AM    V.14.60
